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                      EXHIBIT 36
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                      EXHIBIT 37
           (LODGED UNDER SEAL PURSUANT
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                      EXHIBIT 38
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                      EXHIBIT 39
           (LODGED UNDER SEAL PURSUANT
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                      EXHIBIT 40
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                      EXHIBIT 41
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                      EXHIBIT 42
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                      EXHIBIT 43
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                      EXHIBIT 44
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                      EXHIBIT 45
            (LODGED UNDER SEAL PURSUANT
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                      EXHIBIT 46
            (LODGED UNDER SEAL PURSUANT
              TO CIVIL LOCAL RULE 79-5)
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                      EXHIBIT 47
            (LODGED UNDER SEAL PURSUANT
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                      EXHIBIT 48
            (LODGED UNDER SEAL PURSUANT
              TO CIVIL LOCAL RULE 79-5)
